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                   1   Gary Tokumori, SBN 149952
                       PARKER, MILLIKEN, CLARK,
                   2      O’HARA & SAMUELIAN
                       A Professional Corporation
                   3   555 S. Flower St., 30th Floor
                       Los Angeles, California 90071-2440
                   4   Telephone:    (213) 683-6500
                       Facsimile:    (213) 683-6669
                   5   Email: gtokumori@pmcos.com

                   6   Attorneys for Secured Creditor
                       FIRST-CITIZENS BANK & TRUST COMPANY,
                   7   successor-in-interest to FIRST REGIONAL BANK

                   8                               UNITED STATES BANKRUPTCY COURT

                   9                               CENTRAL DISTRICT OF CALIFORNIA
                  10                                SAN FERNANDO VALLEY DIVISION

                  11   In re:                                         Case No. 1:22-bk-10141-MB

                  12   VANESSA STOLLER,                               Chapter 11

                  13                                                  SECURED CREDITOR FIRST-CITIZENS
                                       Debtor.                        BANK & TRUST COMPANY’S OPPOSITION
                  14                                                  TO DEBTOR’S MOTION FOR SALE OF
                                                                      PROPERTY OF THE ESTATE FREE AND
                  15                                                  CLEAR OF LIENS [DOCKET NO. 111];
                                                                      MEMORANDUM OF POINTS AND
                  16                                                  AUTHORITIES IN SUPPORT THEREOF

                  17                                                  Date:        August 24, 2022
                                                                      Time:        1:30 p.m.
                  18                                                  Place:       Courtroom 303 VIA ZOOM

                  19

                  20            Secured Creditor First-Citizens Bank & Trust Company, successor-in-interest to First

                  21   Regional Bank (“Bank”)1, hereby opposes Debtor's Motion for Sale of Property of the Estate Free

                  22   and Clear of Liens (“Sale Motion”) made pursuant to 11 U.S.C. § 363(b)(1). This opposition is

                  23   filed pursuant to Local Bankruptcy Rule 9013-1(f) and is based upon the memorandum of points

                  24   and authorities set forth below:

                  25
                       1
                  26    First-Citizens Bank & Trust Company acquired the interest of First Regional Bank in the
                       underlying First Regional Bank Lien which is a subject of the Motion pursuant to a Purchase and
                  27   Assumption Agreement – Whole Bank – All Deposits Among Federal Deposit Insurance
                       Corporation, Receiver of First Regional Bank, Los Angeles, CA, Federal Deposit Insurance
PARKER MILLIKEN
                  28   Corporation, and First-Citizens Bank & Trust Company, Raleigh, North Carolina, Dated as of
CLARK O’HARA &
  SAMUELIAN, A         January 29, 2010, which can be found at: firstregional-p-and-a.pdf (fdic.gov)
 PROFESSIONAL
 CORPORATION
                                            FIRST-CITIZENS BANK & TRUST COMPANY’S OPPOSITION
                                                TO DEBTOR’S MOTION FOR SALE OF PROPERTY
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                   1                       MEMORANDUM OF POINTS AND AUTHORITIES

                   2   I.     THE MOTION FAILS TO ACCOUNT FOR THE UNAVOIDABLE PORTION OF

                   3          BANK’S JUDGMENT LIEN

                   4          Debtor seeks to sell residential real property commonly known 5747 Hoback Glen Road,

                   5   in Hidden Hills, California (the “Real Property”), for a price of $6,085,000.00. Bank opposes the

                   6   sale set forth in the Sale Motion (1) on the grounds that the Sale Motion fails to account for the

                   7   portion of Bank’s judgment lien which survives Debtor’s pending Motions to Avoid Liens in the

                   8   amount of $1,138,402, and (2) to the extent that the Sale Motion fails to provide for payment in

                   9   full of said amount to Bank.

                  10          Debtor acknowledges that the Real Property is presently encumbered by at least the

                  11   following liens:

                  12              A first deed of trust held by U.S. Bank for $4,224,477.00 (the “U.S. Bank Lien”);
                  13              A lien recorded by Hidden Hills Community Association for $122,121.00 (the
                  14    “HHCA Lien”);

                  15              A judgment lien recorded by Bank in the amount of $6,504,153.00 (the “First
                  16    Regional Bank Lien”), which the Debtor incorrectly asserts will be avoided in full pursuant to 11

                  17    U.S.C. § 522(f);

                  18              A tax lien recorded by the Internal Revenue Service in the amount of $249,742.00
                  19    (the “IRS Lien”); and

                  20              A tax lien recorded by the Franchise Tax Board in the amount of $68,537.00 (the
                  21    “FTB Lien”).

                  22   Sale Motion at 7-10.2

                  23          However, Debtor fails to account for the Bank’s Oppositions [Docket Nos. 117, 118, 119,

                  24   120] to her Motions to Avoid Lien [Docket Nos. 95, 96, 97, 101]3, which demonstrate that the

                  25
                       2
                  26     Bank is informed and believes that Debtor has or will move to avoid any remaining junior
                       judicial liens pursuant to 11 U.S.C. § 522(f).
                  27   3
                         Debtor filed four motions related to the First Regional Bank Lien to address two writs of
PARKER MILLIKEN
                  28   attachment, an original judgment lien, and a renewed judgment lien which attached as of October
CLARK O’HARA &
  SAMUELIAN, A         26, 2009.
 PROFESSIONAL
 CORPORATION
                       4864-4721-4125                                    -2-
                                            FIRST-CITIZENS BANK & TRUST COMPANY’S OPPOSITION
                                                TO DEBTOR’S MOTION FOR SALE OF PROPERTY
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                   1   First Regional Bank Lien is only avoidable in part and survives to the extent of $1,138,402.00.

                   2           Taking into account the unavoidable portion of the First Regional Bank Lien, the

                   3   “Summary of Sale Proceeds Based Upon Sale Price of $6,085,000” at page 11 of the Sales

                   4   Motion, which claims proceeds of $720,123 available for creditors upon the sale as proposed in

                   5   the Sale Motion, should instead reflect a deficit of $418,279 as follows:

                   6                    U.S. Bank Lien                4,224,477

                   7                    HHCA Lien                       122,121

                   8                    First Regional Bank Lien      1,138,402

                   9                    IRS Lien                        249,742

                  10                    FTB Lien                         68,537

                  11                    Total Liens                                        5,803,279

                  12                    Sales Costs                                          100,000

                  13                    Homestead Exemption Payment                          600,000

                  14                    Total Payments Required

                  15                           (liens, sale costs, homestead)              6,503,279

                  16                    Net Shortage ($6,085,000 - $6,503,279)              (418,279)

                  17           Thus, based on the proposed sale price of $6,085,000 and Debtor’s demand for payment

                  18   of her homestead exemption amount in full, there is a shortfall from the proposed sale, leaving

                  19   insufficient proceeds to cover all liens, the homestead exemption, and sales costs, and providing

                  20   no funds for unsecured creditors. Stated another way, while aggregate liens total $5,803,279.00,

                  21   there are only proceeds of $5,385,000.00 available to satisfy such liens since Debtor is seeking

                  22   payment of $100,000 in sale costs and her $600,000 homestead exemption in full from the total

                  23   sale price.

                  24   II.     THE SALE MOTION SHOULD BE DENIED UNDER SECTION 363

                  25           The Sale Motion proposes a sale of the Real Property, free and clear of, among others, the

                  26   First Regional Bank Lien, outside the ordinary course under section 363, subsections (f)(2) and

                  27   (f)(3). Sale Motion at 7-9. However, Bank submits that Debtor cannot satisfy the requirement of
PARKER MILLIKEN
CLARK O’HARA &
                  28   these subsections.
  SAMUELIAN, A
 PROFESSIONAL
 CORPORATION
                       4864-4721-4125                                   -3-
                                             FIRST-CITIZENS BANK & TRUST COMPANY’S OPPOSITION
                                                 TO DEBTOR’S MOTION FOR SALE OF PROPERTY
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                   1           A.       Bank does not consent to the proposed sale under subsection (f)(2)

                   2           Under section 363(f)(2), the sale, as proposed in the Sale Motion, is possible only if Bank

                   3   consents. Bank does not consent to the sale as proposed in the Sales Motion for the reasons set

                   4   forth herein.

                   5           B.       The sale price is not sufficient to permit sale under subsection (f)(3)

                   6           Under section 363(f)(3), a sale free and clear of Bank’s interest is possible only if “such

                   7   interest is a lien and the price at which such property is to be sold is greater than the aggregate

                   8   value of all liens on such property.” Given that the Sale Motion requires payment in full of the

                   9   $600,000 homestead exemption to Debtor, as well as $100,000 in sale costs, Bank submits that

                  10   such requirement is not satisfied here.

                  11           First, clearly the Bank’s “interest” in the Real Property – a judgment lien – is a “lien”

                  12   within the meaning of section 101(37) (a “charge or interest in property to secure payment of a

                  13   debt or performance of an obligation”).

                  14           Second, the “aggregate value of all liens on such property” means the “face value” (as

                  15   opposed to the economic value) of all such liens. See, Clear Channel v. Knupfer (In re PW,

                  16   LLC), 391 B.R. 25, 41 (9th Cir. BAP 2008) (section 363(f)(3) “does not authorize the sale free and

                  17   clear of a lienholder’s interest if the price of the estate property is equal to or less than the

                  18   aggregate amount of all claims held by creditors who hold a lien or security interest in the

                  19   property being sold”).

                  20           Here, as set forth above, that “aggregate value of all liens” is $5,803,279, i.e., the face

                  21   value of all liens on the Real Property; but together with the requested payment of the $600,000

                  22   homestead exemption and $100,000 in sale costs, the sum of all claims is $6,503,279, in excess of

                  23   the price of $6,085,000. Thus, Bank submits that a sale on such terms cannot be approved under

                  24   section 363(b)(1) because, among other things, the sale price is insufficient to make the payments

                  25   required under the terms of the Sale Motion.

                  26   ///

                  27   ///
PARKER MILLIKEN
CLARK O’HARA &
                  28   ///
  SAMUELIAN, A
 PROFESSIONAL
 CORPORATION
                       4864-4721-4125                                     -4-
                                             FIRST-CITIZENS BANK & TRUST COMPANY’S OPPOSITION
                                                 TO DEBTOR’S MOTION FOR SALE OF PROPERTY
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                   1          C.        The proposed sale fails to account for the surviving amount of the First

                   2                    Regional Bank Lien and yields no payment for unsecured creditors

                   3          Furthermore, even if the Debtor can be deemed to satisfy the requirements of section

                   4   363(f)(3), the Sale Motion fails to demonstrate any benefit to unsecured creditors once the First

                   5   Regional Bank Lien is taken into account. See, e.g., In re KVN Corp., Inc. (9th Cir. BAP 2014)

                   6   514 B.R. 1, 5-6. Here, rather than the $720,123 claimed to be available for creditors, there will be

                   7   a shortfall of $418,279 from the sale price under the payments requested in the Sale Motion. In

                   8   short, the payments proposed in the Sale Motion do not cover payment in full of (1) the surviving

                   9   First Regional Bank Lien, (2) Debtor’s full claim of exemption, and (3) sales costs. (Again, the

                  10   aforementioned payments total $6,503,279 while the sale price is only $6,085,000.) Thus, the

                  11   Sale Motion should not be granted in the form and manner requested.

                  12   III.   CONCLUSION

                  13          For the reasons set forth above, Debtor’s Motion for Sale of Property of the Estate Free

                  14   and Clear of Liens should be denied on the grounds that it fails to (1) account for the First

                  15   Regional Bank Lien in the amount of $1,138,402.00, which survives and remains as a lien on the

                  16   Real Property, and (2) provide for payment in full of the First Regional Lien upon the proposed

                  17   sale of the Real Property.

                  18

                  19   DATED: August 10, 2022                        PARKER, MILLIKEN, CLARK,
                                                                       O’HARA & SAMUELIAN
                  20                                                 A Professional Corporation

                  21

                  22                                                 By:         /s/ Gary Tokumori
                                                                            GARY TOKUMORI
                  23
                                                                    Attorneys for Secured Creditor
                  24                                                FIRST-CITIZENS BANK & TRUST COMPANY,
                                                                    successor-in-interest to FIRST REGIONAL BANK
                  25
                  26

                  27
PARKER MILLIKEN
CLARK O’HARA &
                  28
  SAMUELIAN, A
 PROFESSIONAL
 CORPORATION
                       4864-4721-4125                                   -5-
                                             FIRST-CITIZENS BANK & TRUST COMPANY’S OPPOSITION
                                                 TO DEBTOR’S MOTION FOR SALE OF PROPERTY
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                                     PROOF OF SERVICE OF DOCUMENT
                                         In re VANESSA STOLLER
                                        Case No. 1:22-bk-10141-MB
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
address is:

555 S. Flower Street, 30th Floor, Los Angeles, California 90071

A true and correct copy of the foregoing document entitled (specify): SECURED CREDITOR FIRST-
CITIZENS BANK & TRUST COMPANY’S OPPOSITION TO DEBTOR’S MOTION FOR SALE OF
PROPERTY OF THE ESTATE FREE AND CLEAR OF LIENS [DOCKET NO. 111]; MEMORANDUM OF
POINTS AND AUTHORITIES IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On August 10, 2022, I checked the CM/ECF docket for this bankruptcy case or
adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
receive NEF transmission at the email addresses stated below:

Wesley H Avery on behalf of Interested Party Nancy J. Zamora, Chapter 7 Trustee
  wes@averytrustee.com, lucy@averytrustee.com; alexandria@averytrustee.com

Russell Clementson on behalf of U.S. Trustee United States Trustee (SV)
   russell.clementson@usdoj.gov

Donald H Cram on behalf of Creditor WELLS FARGO BANK, N.A.
   dhc@severson.com, cas@severson.com

Michael S. Kogan on behalf of Debtor Vanessa Stoller
   mkogan@koganlawfirm.com

Kirsten Martinez       Kirsten.Martinez@bonialpc.com; Notices.Bonial@ecf.courtdrive.com

Arvind Nath Rawal on behalf of Creditor BMW Bank of North America, and on behalf of Creditor Capital One
Auto Finance, a division of Capital One, N.A., both in c/o AIS Portfolio Services, LP,
    arawal@aisinfo.com

Gary Tokumori        gtokumori@pmcos.com

United States Trustee (SV)          ustpregion16.wh.ecf@usdoj.gov

                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On August , 2022, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.


                                                                      Service information continued on attached page



 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                               F 9013-3.1.PROOF.SERVICE
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August
10, 2022, I served the following persons and/or entities by personal delivery, overnight mail service, or (for
those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
be completed no later than 24 hours after the document is filed.

BY OVERNIGHT DELIVERY
Hon. Martin Barash
U.S. Bankruptcy Court
21041 Burbank Blvd., #342
Woodland Hills, CA 91367

BY EMAIL
Matthew Abbasi on behalf of Debtor Vanessa Stoller
matthew@malawgroup.com

BY EMAIL
Nancy J. Zamora (Trustee)
Zamora3@aol.com; nzamora@ecf.axosfs.com

                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 August 10, 2022               Cynthia Martinez
 Date                          Printed Name                             Signature




 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                               F 9013-3.1.PROOF.SERVICE
